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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FREEDOM WATCH, INC. et al.,

                        Plaintiffs,

                        v.                            Case No. 1:18-cv-02030 (TNM)

 GOOGLE, INC. et al.,

                        Defendants.


                                            ORDER

       Upon consideration of the Defendants’ Motion to Dismiss, the pleadings, relevant law,

and related legal memoranda in opposition and support, for the reasons set forth in the

accompanying Memorandum Opinion it is hereby


       ORDERED that the Defendants’ Motion to Dismiss is GRANTED.

       SO ORDERED.

       The Clerk of the Court is directed to close the case. This is a final, appealable Order.



                                                                         2019.03.14
                                                                         16:02:49 -04'00'
Dated: March 14, 2019                                TREVOR N. McFADDEN
                                                     United States District Judge
